NCOs!
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June 13, 2023

Honorable Jeffrey J. Helmick

Judge, United States District Court

Northern District of Ohio

James M. Ashley and Thomas W.L. Ashley U.S. Courthouse
1716 Spielbusch Avenue, Room 210

Toledo, OH 43604-1363

RE: Case No. 1:13-dp-20140. Andrea K. Drake, et al. v. Depuy Orthopaedics Inc.
Case No. 1:17-dp-20085, Steven M. Johnson v. William Scott Drake

Judge Helmick:

Movant, Steven M. Johnson d/b/a The Johnson Law Firm (“Johnson”), submits this Second
letter requesting a ruling on its September 9, 2021 Motion to Confirm Arbitration Award (Exhibit
1, Case 1:13-dp-20140-JJH, Doc. 51).

On December 15, 2020, the Sixth Circuit Court of Appeals issued its opinion in Nos. 19-
4074/4075, the consolidated appeal from this Court’s orders in Case 1:13-dp-20140-JJH and 1:17-
20085-JJH, by which this Court both refused to enforce and vacated a corrected arbitration award
entered in July 2016 in favor of Johnson. (Exhibit 2, Case Nos 19-4074/4075, Doc. 36-1, 36-2).
The Sixth Circuit denied Drake’s Motion for Rehearing En Banc on January 20, 2021 (Exhibit 3,
Case Nos 19-4074/4075, Doc. 38-1), and issued its mandate on February 1, 2021 (Exhibit 4, Case
19-4074/4075, Doc. 39).

After the cases were remanded to this Court, on September 9, 2021, Johnson moved this
Court for an entry of an order confirming the arbitration award and overruling Drake’s request to
vacate the award. (Exhibit 1, Case 1:13-dp-20140-JJH, Doc. 51). And after a year had passed
with no activity on the motion, Johnson filed a letter with this Court on September 14, 2022
requesting this Court to enter an order on the pending motion. (Exhibit 5, Case 1:13-dp-20140-
JJH, Doc. 55).

To date, this Court has not issued any order on Johnson’s motion. It has been 2,520 days
since the arbitration was conducted, 906 days since the Sixth Circuit issued its opinion, 858 days
since the Sixth Circuit issued its mandate, 638 days since Johnson moved for entry of a
confirmation order, and 268 days since Johnson filed the first letter requesting a ruling.

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The absence of an order from this Court has deprived Johnson of the benefits of the
arbitration award in its favor and has subjected the Drakes to delay in the distribution of proceeds
from the contested settlement.

Accordingly, Steven M. Johnson d/b/a The Johnson Law Firm respectfully request that this
Court issue an order on the competing motions to confirm or vacate the July 7, 2016 arbitration
award so that the parties may take appropriate steps to bring this dispute to its ultimate conclusion.

Respectfully submitted,

/s/ Michael S. Truesdale
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Attorneys for Interested Party/Petitioner, Steven M.
Johnson

CERTIFICATE OF SERVICE

I hereby certify that all counsel of record are being served with a copy of the foregoing
document via the Court’s CM/ECF system per Local Civil Rule 5.1 on June 13, 2023.

/s/ Michael S. Truesdale
Michael S. Truesdale

